                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA



ELDRIDGE JOHNSON,                                 Case No. 12-cv-02730-VC
Plaintiff,
v.                                                ORDER TO SHOW CAUSE
UNITED AIRLINES, INC., et al.,
Defendants.

AND COORDINATED CASES:

Miller, Leon v. United Airlines, Inc. et al.
3:15-cv-00457 VC

Palmer, Xavier v. United Airlines, Inc. et al.
3:15-cv-00458 VC

Noble, Paul C. v. United Airlines, Inc. et al.
3:15-cv-00461 VC

Jones Jr., Johnnie E. v. United Airlines, Inc.
et al. 3:15-cv-00462 VC

Roane, Glen v. United Airlines, Inc. et al.
3:15-cv-00464 VC

Ricketts, David v. United Airlines, Inc. et al.
3:15-cv-00465 VC

Crocker, Sal v. United Airlines, Inc. et al.
3:15-cv-00468 VC

Manswell, Anthony v. United Airlines, Inc.
et al. 3:15-cv-00469 VC

Washington, Erwin v. United Airlines, Inc.
et al. 4:15-cv-00471 VC
 Wilson, Darryl v. United Airlines, Inc. et al.
 3:15-cv-00472 VC

 Sherman, Leo v. United Airlines, Inc. et al.
 3:15-cv-00473 VC

 Haney, Ken v. United Airlines, Inc. et al.
 3:15-cv-00474 VC

 John, Richard v. United Airlines, Inc. et al.
 3:15-cv-00475 VC

 Briscoe, Odie v. United Airlines, Inc. et al.
 3:15-cv-00476 VC

 Hartsfield, Terrence v. United Airlines, Inc.
 et al. 3:15-cv-00477 VC




       The plaintiffs' attorneys in these sixteen coordinated cases, Brian R. Mildenberg and

Connor J. Corcoran, have repeatedly failed to comply with this Court's orders and the Civil Local

Rules. Mildenberg and Corcoran are therefore each ordered to show cause why sanctions should

not be imposed against them under 28 U.S.C. § 1927 and/or the Court's inherent authority. Their

responses, each not to exceed 7 pages, are due Friday, May 27, 2016. Specifically, their

responses must address the following issues:

           1. The Court ordered the parties' counsel to file their proposed ranking of cases for

               purposes of case scheduling by no later than April 8, 2016. Mildenberg emailed

               his proposed ranking to the Court's Courtroom Deputy, but did not file his

               proposed ranking until May 18, 2016, despite the Courtroom Deputy reminding

               Mildenberg that he was required to do so.

           2. This Court's Standing Order for Civil Cases provides that "[a]ny request for an

               extension of a filing deadline (other than an extension that the rules allow the

               parties to arrange between themselves without a court order) must be filed no later
               than 72 hours prior to the deadline." Yet Mildenberg twice filed untimely




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   requests for extensions of the already-extended filing deadline for the plaintiffs'

   opposition to the defendants' combined Motions to Dismiss and anti-SLAPP

   Motions to Strike.

3. This Court's Standing Order for Civil Cases also provides that, "[u]nless expressly

   permitted by the Court, briefs in support of and in opposition to all substantive

   motions (except for summary judgment motions, class certification motions, and

   motions in patent cases, as discussed below) may not exceed 15 pages."

   Moreover, a motion to increase the page limit "must be filed no later than 72

   hours before the brief is due." The Court ordered that the plaintiffs' briefs in

   opposition to the defendants' combined Motions to Dismiss and anti-SLAPP

   Motions to Strike were not to exceed 25 pages. Yet without timely seeking leave

   to increase the applicable page limit, despite having made the requests for

   extension described above, Mildenberg and Corcoran filed a brief relating to

   seven of these coordinated cases that was 34 pages long. Mildenberg and

   Corcoran also failed to e-file the briefs in opposition on the dockets of all of the

   cases to which they intended the briefs to relate.

4. The plaintiff's brief in opposition to the defendants' Motion to Dismiss or Transfer

   Venue in Haney v. United Airlines, Inc. et al., No. 15-cv-00474-VC was not to
   exceed 15 pages, yet Mildenberg filed a brief in opposition that was 16 pages

   long. And the exhibits and declaration in support of the brief in opposition were

   filed late, after the already-extended deadline had passed.

5. The plaintiffs' briefs in opposition to the combined Motions to Dismiss and anti-

   SLAPP Motions to Strike and the Motion to Dismiss or Transfer Venue failed to

   include tables of contents and tables of authorities, as well as otherwise to

   conform to the Civil Local Rules relating to the form of papers presented to the

   Court. See Civil. L. R. 3-4, 7-4.
6. According to the defendants, Mildenberg and Corcoran have also repeatedly


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             failed to follow the Court's scheduling order for the preparation of case

             management statements in these coordinated cases.

          7. Mildenberg and Corcoran have also failed to follow the Civil Local Rules

             regarding pro hac vice appearance. See Civ. L.R. 11-3. Corcoran has so far only

             moved for leave to appear pro hac vice in four of these coordinated cases

             (Johnson v. United Airlines, Inc. et al., No. 12-cv-02730-VC; Roane v. United

             Airlines, Inc. et al., No. 15-cv-00464-VC; Manswell v. United Airlines, Inc. et al.,

             No. 15-cv-00469-VC; Briscoe v. United Airlines, Inc. et al., No. 15-cv-00476-

             VC), although his name appears on all of the plaintiffs' briefs in opposition to the

             combined Motions to Dismiss and anti-SLAPP Motions to Strike. Similarly,

             Mildenberg has moved for leave to appear pro hac vice in only fourteen of these

             sixteen cases, and has not moved to appear pro hac vice in Briscoe v. United

             Airlines, Inc. et al., No. 15-cv-00476-VC, or Manswell v. United Airlines, Inc. et

             al., No. 15-cv-00469-VC, despite that Mildenberg has represented to the Court

             that he represents all sixteen of these plaintiffs. The Court has previously ordered

             Mildenberg and Corcoran to file the required motions for leave to appear pro hac

             vice and pay the associated admission fees under the Local Rules for all clients

             they seek to represent.
      IT IS SO ORDERED.

Dated: May 20, 2016
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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